            Case 1:18-cv-00444-RP Document 366 Filed 10/30/22 Page 1 of 9



                          UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION


 MWK RECRUITING, INC.

                   Plaintiff,
                                               Civil Action No. 1:18-cv-00444-RP
                v.

 EVAN P. JOWERS,

                   Defendant.


 PLAINTIFF’S REPLY IN SUPPORT OF MOTION TO AMEND JUDGMENT
       Plaintiff MWK Recruiting, Inc. (now known as Counsel Holdings, Inc.)

(“Counsel” or “Plaintiff”) hereby files this Reply in support of its Motion (Dkt. 354)

pursuant to Fed.R.Civ.P. 59(e) for an amendment to the judgment issued by the Court

September 19, 2022. Because the Motion also requests an additional finding of fact, it

should also be construed as a motion pursuant to Fed.R.Civ.P. 52(b) for an amended

finding of fact.

       I.      Prejudgment Interest
       Jowers does not challenge the Plaintiff’s calculations of the amount of

prejudgment interest that the Court should award on the Texas law misappropriation

claims or the Florida law breach of contract claims if Plaintiff is entitled to any

prejudgment at all. Instead, he argues that no prejudgment interest should be awarded

on any of the damages. In both cases, Jowers bases his arguments on a

misunderstanding of relevant precedent.




REPLY I/S/O MOTION TO AMEND JUDGMENT                                       PAGE | 1
              Case 1:18-cv-00444-RP Document 366 Filed 10/30/22 Page 2 of 9



         A.      Prejudgment interest on the Texas law damages must be awarded
                 under clear Fifth Circuit precedent.

         Jowers cites Texas state court cases for two propositions they do not support,

namely, that Texas procedural rules apply and that a simple prayer for interest is not

enough to preserve a claim for prejudgment interest. (Response, Dkt. 365, at 3-4). First,

even if Texas procedural rules did apply in this diversity case, a simple prayer for

interest in the pleadings would be enough. See Black Lake Pipe Line v. Union Const.

Co. Inc., 538 S.W.2d 80 (Tex. 1976) (holding that “a simple prayer for interest provides

fair notice of the claim for relief”). 1 Second, Jowers ignores that the pleading standards

are a matter of federal procedural law. Controlling precedent dictates that the request

for prejudgment interest would be preserved even without a simple prayer requesting

interest, but certainly whenever the “pleadings contain a simple prayer for interest on

the judgment,” as they did in this case. Meaux Surface Protection, Inc. v. Fogleman,

607 F.3d 161, 172 (5th Cir. 2010). “[W]hile the substantive questions of entitlement to

interest and the rates of interest are to be resolved by the applicable state law, the

adequacy of a plaintiff's pleadings must be resolved by reference to Fed.R.Civ.P. 54(c)




1    Each of the Texas state court cases Jowers cites deals with a general prayer for
    damages that does NOT include a simple prayer for interest or is otherwise
    inapposite. See Vidor Walgreen Pharmacy v. Fisher, 728 S.W.2d 353 (Tex. 1987) (not
    addressing whether a simple prayer for interest would have sufficed to preserve a
    claim for prejudgment interest); Benavides v. Isles Constr. Co., 726 S.W.2d 23, 25 (Tex.
    1987) (not addressing the question of whether a simple prayer for interest would have
    sufficed, but permitting a post-verdict trial amendment to request prejudgment
    interest); Republic Nat'l Bank of Dallas v. Nw. Nat'l Bank of Fort Worth, 578
    S.W.2d 109, 117 (Tex. 1978) (holding that prejudgment interest should be awarded
    when there is a statutory entitlement to prejudgment interest even when there is only
    a general prayer for relief).


REPLY I/S/O MOTION TO AMEND JUDGMENT                                             PAGE | 2
         Case 1:18-cv-00444-RP Document 366 Filed 10/30/22 Page 3 of 9



and cases construing it.” Consol. Cigar Co., 749 F.2d at 1174 (5th Cir. 1985) (noting,

at 1175, that even if Texas procedural rules applied, Black Lake Pipe Line would

control and a prayer for damages “with interest” would be sufficient to preserve the

claim for prejudgment interest). In Meaux, the Fifth Circuit addressed the question

again. (607 F.3d 161 (5th Cir. 2010)). The plaintiffs in Meaux had included a prayer for

interest in their pleadings but did not repeat it in the pre-trial order. (Id. at 172). The

defendants argued that the plaintiffs were precluded from seeking pre-judgment

interest. (Id.). The Fifth Circuit acknowledged that there had been previous

contradictory rulings but stated that its “rule of orderliness” required it to abide by the

earlier decision in Consol. Cigar Co. (749 F.2d 1169 (5th Cir. 1985). The Meaux court

summarized the resultant procedural rules regarding pleadings and pre-judgment

interest as follows:

      [I]n diversity cases, it is not necessary for the plaintiff's pleadings to
      contain a prayer or other request for pre-judgment interest. If state
      substantive law provides for the recovery of interest, Federal Rule of
      Civil Procedure 54(c) requires that such be included where appropriate.
(Meaux, 607 F.3d at 172). Under controlling Texas substantive law, “In the absence of

a statutory right to prejudgment interest, […] an equitable award of prejudgment

interest should be granted to a prevailing plaintiff in all but exceptional

circumstances.” Id. (cleaned up). Therefore, by including a simple prayer for interest

in its pleadings, Plaintiff did more than was necessary. Plaintiff certainly did not waive

its right to seek pre-judgment interest under Texas law as Jowers argues. Since Jowers

has not contested the calculation of the prejudgment interest on the Texas law trade




REPLY I/S/O MOTION TO AMEND JUDGMENT                                            PAGE | 3
           Case 1:18-cv-00444-RP Document 366 Filed 10/30/22 Page 4 of 9



secret claims under substantive Texas law, the Court should award the full

$155,455.30 requested by Plaintiff.

      B.      Jowers also cites inapposite cases for the proposition that Florida
              courts would not award prejudgment interest.

      Again, Jowers does not argue that Plaintiff’s calculations of the prejudgment

interest owing on the Jowers Agreement under Florida law are incorrect, only that no

prejudgment interest at all should be awarded. Citing no authority, Jowers argues that

the term “liquidated damages” necessarily includes any prejudgment interest that

might apply to those damages. This argument ignores that, “In Florida, prejudgment

interest is an element of compensatory damages and, when a verdict liquidates

damages on a plaintiff's out-of-pocket, pecuniary losses, plaintiff is entitled, as a matter

of law, to prejudgment interest at the statutory rate from the date of that loss.”

Insurance Co. of North America v. Lexow, 937 F.2d 569, 571 (11th Cir. 1991) (cleaned

up). “Under Florida law, prejudgment interest is merely another element of pecuniary

damages, to be awarded from the date of loss once a finder of fact has determined the

amount of damages and defendant's liability therefor.” Gilchrist Timber Co. v. ITT

Rayonier, Inc., 472 F.3d 1329, 1331 (11th Cir. 2006) (cleaned up) (reversing a district

court’s denial of prejudgment interest when the district court had based its decision in

part on a determination that an award of prejudgment interest would be unfair because

the plaintiff had “actually made a profit from the transactions”).

      Next, Jowers urges that awarding prejudgment interest would not comport with

equity. The Eleventh Circuit has indeed acknowledged regarding prejudgment interest

that “this general rule [that prejudgment interest should be awarded] is not absolute,”


REPLY I/S/O MOTION TO AMEND JUDGMENT                                            PAGE | 4
            Case 1:18-cv-00444-RP Document 366 Filed 10/30/22 Page 5 of 9



and that prejudgment interest can be denied when it would be inequitable. Wiand v.

Lee, 753 F.3d 1194, 1204 (11th Cir. 2014) (cleaned up). But Jowers ignores that a

district court’s discretion to deny prejudgment interest on this basis is tightly limited.

The Eleventh Circuit has considered only three factors that should guide a court's

discretion in deciding whether to award prejudgment interest on equitable grounds,

none of which is addressed by Jowers. Those factors are: (1) in matters concerning

government entities, whether it would be equitable to put the burden of paying interest

on the public in choosing between innocent victims; (2) whether it is equitable to allow

an award of prejudgment interest when the delay between injury and judgment is the

fault of the prevailing party; (3) whether it is equitable to award prejudgment interest

to a party who could have, but failed to, mitigate its damages. Id. at 1204 (citing

Blasland, Bouck & Lee, Inc. v. City of N. Miami, 283 F.3d 1286, 1297 (11th Cir. 2002)).

Where a district court had based denial of prejudgment interest on a generalized view

that the defendants “have suffered enough,” this was reversible error. Id. Jowers

provides no argument based on any of these factors, waiving any right he might have

had to do so. (Response, Dkt. 365, at 5-6). Since Jowers has not challenged the amount

of prejudgment interest calculated under Florida law on the Jowers Agreement

damages, $936,270.01, the Court should award the full amount.

      II.      The dismissal of claims against Yuliya Vinokurova and of the
               civil conspiracy claims should be without prejudice.
      Jowers cites no legitimate reason why the Court should not make its dismissal

of the claims against Yuliya Vinokurova (“Vinokurova”) and the civil conspiracy claims

against all the original defendants expressly “without prejudice” as requested in the



REPLY I/S/O MOTION TO AMEND JUDGMENT                                           PAGE | 5
         Case 1:18-cv-00444-RP Document 366 Filed 10/30/22 Page 6 of 9



Motion. (Dkt. 354, at 5-9). The default rule under Fed.R.Civ.P. 41(b) is not appropriate

in this case. Failing to grant the relief requested would be inequitable, because it would

provide a colorable (though incorrect) basis for the original defendants to claim that

the dismissals should be entitled to res judicata effect overseas in Hong Kong. Evidence

adduced at trial made it clear that Vinokurova was part of the conspiracy with Jowers,

just as she was accused of having done. (Motion, Dkt. 354, at 9). Jowers (or his counsel)

refused to produce the personal email account messages that might have led to the

same conclusion at an earlier date. (See Dkt. 360, Motion for Sanctions). After trial,

Vinokurova added claims in Hong Kong and is arguing there that Jowers was NOT in

breach of his employment contract, he did NOT misappropriate trade secrets of Kinney

Recruiting, he was NOT assisted by her in doing so, and that Kinney and Kinney

Recruiting Limited defamed her by saying that she was assisting Jowers. Also,

Jowers’s counsel Robert Tauler (“Tauler”) has indicated Vinokurova intends to request

that the Court award attorney fees for her dismissal. (REK Decl., Dkt. 364-1, at 4). It

presumably “was not the Court’s intention to preclude [plaintiff] from filing such claims

which may develop due to [Vinokurova’s] actions” in the future, so the Court should do

as other courts have done in similar situations and grant the relief requested by

amending the . (See Motion, Dkt. 354, at 8 (citing Century Sur. Co. v. Blevins, Civil

Action 1-00411 (W.D. La. Sep. 5, 2014)(granting a Rule 59 motion to amend judgment).

Granting this relief will undoubtedly serve the interests of equity and limit the

unnecessary proceedings before this Court and in Hong Kong.




REPLY I/S/O MOTION TO AMEND JUDGMENT                                           PAGE | 6
         Case 1:18-cv-00444-RP Document 366 Filed 10/30/22 Page 7 of 9



      III.   The style of this case should be changed to Counsel
             Holdings, Inc. v. Evan P. Jowers and the Court should add an
             explicit that all claims and causes of action are possessed by
             Counsel Holdings, Inc.
      To conform with the evidence, Plaintiff has requested an explicit finding that

“Counsel Holdings, Inc. is the successor in interest to each of the agreements and

claims at issue in this lawsuit and is the properly named Plaintiff in this lawsuit.”

Plaintiff also has requested an amendment to the Judgment changing the style of the

case to Counsel Holdings, Inc. v. Evan P. Jowers. (Motion, Dkt. 354, at 12). The request

for a style change is a renewal of a request made February 25, 2019. (Dkt. 68). Tauler

has acknowledged the merger throughout the course of the proceedings. (REK Decl.,

at ¶¶4-6). Jowers apparently now believes he may somehow be able to avoid the

Judgment in this case by asserting the named plaintiff in the Judgment no longer

exists and ignoring the effect of the merger. (REK Decl., at ¶2) (Tauler stating, “3.62%

[sic] of nothing is still nothing”). Jowers speculates that what was clearly a merger

might have been an asset sale, citing a passage in a Florida case dealing with asset

sales (Response, Dkt. 365, at 11). In fact, the case Jowers cites stands for the

proposition that a merger is sufficient to preserve the rights of the merged company to

enforce a noncompete agreement under Florida law: “[W]e conclude that the surviving

corporation in a merger assumes the right to enforce a noncompete agreement entered

into with an employee of the merged corporation by operation of law, and no

assignment is necessary.” Corporate Express Office Prod. v. Phillips, 847

So. 2d 406, 414 (Fla. 2003). Evidence of both the conversion of MWK Recruiting LLC

into MWK Recruiting, Inc. and the merger of MWK Recruiting, Inc. into Counsel




REPLY I/S/O MOTION TO AMEND JUDGMENT                                         PAGE | 7
          Case 1:18-cv-00444-RP Document 366 Filed 10/30/22 Page 8 of 9



Holdings, Inc. is clearly in the record of this case. (Dkt. 341-1, at 75; Dkt. 341-1, at 83;

Tr. I, at 142-143).

       IV.    Conclusion
       Jowers has presented no real argument to justify denial of any of the relief

sought by Plaintiff in the Motion. The Court should amend the final judgment to add

$1,091,725.31 of prejudgment interest, to state that the post-judgment interest runs

from September 19, 2022, at the rate of 3.91% (which rate was not opposed by Jowers),

and to explicitly state that each of the Rule 12(b)(6) dismissals of claims and parties in

the Court’s ruling on the defendants’ Motion to Dismiss was WITHOUT prejudice.

Finally, because Counsel Holdings, Inc. is the successor in interest to all claims and

causes of action in this case, the Court should amend the Judgment to modify the case

style to reflect that Counsel Holdings, Inc. is the plaintiff and should make an explicit

finding of fact that all claims and causes of action were validly assigned to Counsel

Holdings, Inc., not just the loan agreements.




REPLY I/S/O MOTION TO AMEND JUDGMENT                                            PAGE | 8
        Case 1:18-cv-00444-RP Document 366 Filed 10/30/22 Page 9 of 9



     Dated: October 30, 2022            Respectfully Submitted,


                                         /s/ Robert E. Kinney
                                         Robert E. Kinney
                                         Texas State Bar No. 00796888
                                         Robert@KinneyPC.com

                                         Robert E. Kinney
                                         824 West 10th Street, Suite 200
                                         Austin, Texas 78701
                                         Tel: (512) 636-1395

                                         Raymond W. Mort, III
                                         Texas State Bar No. 00791308
                                         raymort@austinlaw.com

                                         THE MORT LAW FIRM, PLLC
                                         100 Congress Ave, Suite 2000
                                         Austin, Texas 78701
                                         Tel/Fax: (512) 865-7950

                                         ATTORNEYS  FOR           JUDGMENT
                                         CREDITOR COUNSEL         HOLDINGS,
                                         INC.




REPLY I/S/O MOTION TO AMEND JUDGMENT                                  PAGE | 9
